Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 1 of 38 Page ID #:1



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13                    IN THE UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
15    JUNIOR SPORTS MAGAZINES               CASE NO:
      INC., RAYMOND BROWN,
16    CALIFORNIA YOUTH SHOOTING             COMPLAINT FOR DECLARATORY &
      SPORTS ASSOCIATION, INC.,             INJUNCTIVE RELIEF
17    REDLANDS CALIFORNIA
      YOUTH CLAY SHOOTING                   (1) VIOLATION OF 42 U.S.C. § 1983
18    SPORTS, INC., CALIFORNIA              [FREE SPEECH];
      RIFLE & PISTOL ASSOCIATION,
19    INCORPORATED, THE CRPA                (2) VIOLATION OF 42 U.S.C. § 1983
      FOUNDATION, AND GUN                   [COMMERCIAL SPEECH];
20    OWNERS OF CALIFORNIA, INC.;
      and SECOND AMENDMENT                  (3) VIOLATION OF 42 U.S.C. § 1983
21    FOUNDATION,                           [RIGHT TO ASSOCIATION];
22                          Plaintiffs,     (4) VIOLATION OF 42 U.S.C. § 1983
                                            [EQUAL PROTECTION]
23                   v.
                                          FRCP 5.1(a) NOTICE OF
24    ROB BONTA, in his official capacity UNCONSTITUTIONALITY OF STATE
      as Attorney General of the State of STATUTE
25    California; and DOES 1-10,
26                          Defendant.
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                                 1
         COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 2 of 38 Page ID #:2



1           Plaintiffs Junior Sports Magazines Inc., Raymond Brown, California Youth
2    Shooting Sports Association, Inc., Redlands California Youth Clay Shooting
3    Sports, Inc., California Rifle & Pistol Association, Incorporated, The CRPA
4    Foundation, and Gun Owners of California, Inc., and the Second Amendment
5    Foundation (collectively, “Plaintiffs”), by and through their respective attorneys,
6    bring this Complaint for Declaratory and Injunctive Relief against the above-named
7    Defendants, their employees, agents, and successors in office, and in support
8    thereof allege the following:
9                                JURISDICTION AND VENUE
10          1.      The Court has original jurisdiction of this civil action under 28 U.S.C.
11   § 1331 because the action arises under the Constitution and laws of the United
12   States, thus raising federal questions. The Court also has jurisdiction under 28
13   U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983 since this action seeks to redress the
14   deprivation, under color of the laws, statutes, ordinances, regulations, customs and
15   usages of the State of California and political subdivisions thereof, of rights,
16   privileges or immunities secured by the United States Constitution and by Acts of
17   Congress
18          2.      Plaintiffs’ claims for declaratory and injunctive relief are authorized by
19   28 U.S.C. §§ 2201 and 2202, respectively, and their claim for attorneys’ fees is
20   authorized by 42 U.S.C. § 1988.
21          3.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a
22   substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred
23   in this district.
24                                      INTRODUCTION
25          4.      Plaintiffs bring this suit to challenge the constitutionality of California
26   Business & Professions Code section 22949.80, which makes it unlawful for any
27   “firearm industry member” to “advertise, market, or arrange for placement of an
28   advertising or marketing communication concerning any firearm-related product in

                                 2
         COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 3 of 38 Page ID #:3



1    a manner that is designed, intended, or reasonably appears to be attractive to
2    minors.” Cal. Bus. & Prof. Code § 22949.80(a)(1).
3          5.     The First Amendment fully protects pure political, ideological, and
4    educational speech. Content- and viewpoint-based restrictions on such speech are
5    especially repugnant to the People’s right to free speech. Indeed, “above all else,
6    the First Amendment means that the government has no power to restrict
7    expression because of its message, its ideas, its subject matter, or its content.”
8    Police Dep’t v. Mosley, 408 U.S. 92, 95 (1972); see also The Constitution thus
9    “demands that content-based restrictions on speech be presumed invalid . . . and
10   that the Government bear the burden of showing their constitutionality.” Ashcroft v.
11   Am. Civil Libs. Union, 535 U.S. 564, 573 (2002).
12         6.     The First Amendment also protects non-misleading commercial speech
13   promoting lawful products or services. That protection is at its highest when the
14   products or services are themselves independently protected by other fundamental
15   rights. And the sale of firearms, ammunition, and firearm parts and accessories is
16   not only legal, but also constitutionally protected by the Second Amendment.
17         7.     Section 22949.80 imposes a content- and speaker-based restriction on
18   protected speech that is viewpoint discriminatory, that serves no legitimate
19   government interest (directly or indirectly), and that is both facially overbroad and
20   far more extensive than necessary to achieve any purported interest. It thus violates
21   Plaintiffs’ free speech and commercial speech rights.
22         8.     The First Amendment also protects the right to peaceably assemble
23   and associate. The right to assemble often merges with the right to free expression.
24   For “[e]ffective advocacy of both public and private points of view, particularly
25   controversial ones, is undeniably enhanced by group association.” NAACP v.
26   Alabama ex rel. Patterson, 357 U.S. 449, 460 (1959). “Governmental action which
27   may have the effect of curtailing the freedom to associate is subject to the closest
28   scrutiny.” Id. at 461-62 (emphasis added).

                                 3
         COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 4 of 38 Page ID #:4



1          9.     Section 22949.80 effectively curtails the rights to assemble and
2    associate because it directly prohibits advertising, marketing, or arranging for the
3    placement of advertising or marketing promoting various firearm-related events and
4    programs, where Plaintiffs peaceably and lawfully assemble and associate with
5    each other and members of the public. It also impermissibly restricts pro-gun (but
6    not anti-gun) organizations from promoting membership in or financial support of
7    their organizations in ways that might be deemed “attractive to minors.”
8          10.    Finally, for many of the reasons section 22949.80 violates Plaintiffs’
9    right to engage in free speech, it also violates their right to equal protection under
10   the law.
11         11.    What’s more, AB 2571 (codified as § 22949.80), clearly violates well-
12   established free speech precedents of the U.S. Supreme Court, making the law
13   frivolous on its face. This may very well have the effect of forcing the California
14   Attorney General’s office to defend this statute by making legal contentions that are
15   not warranted by existing law, or even abandoning the defense and enforcement of
16   this statute altogether. See generally, Perry v. Proposition 8 Official Proponents,
17   587 F.3d 947 (9th Cir. 2009).
18         12.    Because section 22949.80 violates rights protected by the First and
19   Fourteenth Amendments, Plaintiffs seek equitable relief declaring the law invalid
20   and enjoining its enforcement by Defendants, their employees, agents, successors in
21   office, and all District Attorneys, County Counsel, and City Attorneys holding
22   office in the state of California, as well as their successors in office.
23                                          PARTIES
24                                          [Plaintiffs]
25         13.    Plaintiff JUNIOR SPORTS MAGAZINES, INC. (“Junior Sports
26   Magazines”) is a for-profit company incorporated under the laws of the state of
27   Idaho. Plaintiff Junior Sports Magazines is the publisher of the online and print
28   magazine Junior Shooters, a publication dedicated to promoting youth of all

                                 4
         COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 5 of 38 Page ID #:5



1    involved in all shooting disciplines with readership throughout California. Junior
2    Shooters answers questions young and beginner shooters have about firearm safety,
3    guns and gear, protective gear, and more. The magazine also provides information
4    on how to get started in the shooting sports, shooting events, youth shooting
5    organizations and clubs, as well as scholarships available to youth shooters.
6          14.    Plaintiff RAYMOND BROWN is a resident of Yucaipa, California.
7    Plaintiff Brown is a Level 3 Sporting Clays Instructor—one of only three such
8    instructors in California and the only one located in Southern California. He
9    regularly trains youth in the shooting sports and those participating in high school
10   shooting trap teams. His work includes promoting his courses to youth in the
11   shooting sports and speaking to the youth he trains about firearms and safety.
12         15.    Plaintiff CALIFORNIA YOUTH SHOOTING SPORTS
13   ASSOCIATION, INC. (“CYSSA”) is a non-profit organization incorporated under
14   the laws of the state of California, with headquarters in Valley Springs, California.
15   Plaintiffs CYSSA is committed to promoting and preserving the clay shooting
16   sports among youth in California. To that end, Plaintiff CYSSA offers participation
17   in its youth clay shooting program, the CYSSA Clay Target Program, a team-based
18   youth development program for boys and girls, grades 12 and under, that provides
19   its participants with a positive, life-enhancing experience. It is an opportunity for
20   young people to participate in a supervised, shotgun-shooting sports program taught
21   by certified coaches that emphasizes firearm safety and skill development in clay
22   target shooting. Good sportsmanship, individual responsibility, self-discipline,
23   positive academic progress, and personal commitment are emphasized in the
24   CYSSA program. Plaintiff CYSSA, in partnership with other local clubs, sponsor
25   youth competitive events, like its “Series Shoots” and the State Trap
26   Championships.
27         16.    Plaintiff REDLANDS CALIFORNIA YOUTH CLAY SHOOTING
28   SPORTS, INC. (“RCYCSS”) is a 501(c)(3) non-profit organization incorporated

                                 5
         COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 6 of 38 Page ID #:6



1    under the laws of the state of California, with headquarters in Redlands, California.
2    Plaintiff RCYCSS is committed to growing clay shooting sports among the youth
3    within the Southern California region. To that end, Plaintiff RCYCSS offers
4    participation in its youth clay shooting program, the Redlands Clay Crushers Junior
5    Trap Team, which consists of youth shooters ranging from age 10-18. The group’s
6    mission is to allow youth shooters the opportunity to safely and responsibly
7    participate in clay shooting sports, including American Trap, Skeet, International
8    Skeet, Olympic Bunker, and Sporting Clays. Plaintiff RCYCSS and the Redlands
9    Clay Crushers Junior Trap Team consistently focus on firearm safety in a fun, yet
10   skill-based environment. One of its principal goals is to strengthen connections
11   within families and communities through lifelong recreational shooting sports
12   activities.
13          17.    Plaintiff CALIFORNIA RIFLE & PISTOL ASSOCIATION,
14   INCORPORATED (“CRPA”) is a non-profit membership organization
15   incorporated under the laws of the state of California, with headquarters in
16   Fullerton, California. Among its other activities, Plaintiff CRPA works to preserve
17   and protect the constitutional and statutory rights of gun ownership, including the
18   right to self-defense and the right to keep and bear arms. Plaintiff CRPA
19   accomplishes this through its educational offerings, publications (including
20   magazines, like “The Firing Line”), member-engagement events, and legislative
21   advocacy and initiatives. Through this lawsuit, Plaintiff CRPA represents not only
22   its own interests as a “firearm industry member” to disseminate information to like-
23   minded individuals, but also the interests of its members, including youth under the
24   age of 18 and their parents and firearms trainers, who support and promote the right
25   to keep and bear arms for lawful purposes.
26          18.    Plaintiff THE CRPA FOUNDATION (“CRPAF”) is a 501(c)(3) non-
27   profit organization incorporated under the laws of the state of California, with
28   headquarters in Fullerton, California. Since 2004, Plaintiff CRPAF has raised funds

                                 6
         COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 7 of 38 Page ID #:7



1    to benefit eligible programs supportive of advancing its mission and ensuring the
2    continued fight to protect the Second Amendment rights of all law-abiding citizens
3    in California who to choose to own a gun for sport, hunting, and personal
4    protection. Grants from CRPAF benefit a variety of constituencies throughout
5    California, including youth, women, gun collectors, hunters, target shooters, law
6    enforcement, adaptive shooters, and those who choose to own a gun to defend
7    themselves and their families. Plaintiff CRPAF is dedicated to fostering youth
8    leadership skills through bolstering programs that engage kids, teenagers, and
9    young adults in wildlife conservation, hunting heritage and traditions, and
10   competitive and recreational shooting sports. Through its Youth Scholarship
11   Program, Plaintiff CRPAF supports collegiate bound students that believe in the
12   preservation of the Second Amendment and conservation of wildlife in California.
13         19.    Plaintiff GUN OWNERS OF CALIFORNIA, INC. (“GOC”) is a non-
14   profit organization incorporated under the laws of the state of California, with
15   headquarters in El Dorado Hills, California. GOC is dedicated to the restoration of
16   the Second Amendment in California. To that end, GOC annually supports youth
17   shooting teams by raising contributing financial resources to their programs and has
18   sponsored individual talented young shooters through their careers as juniors
19   looking to earn scholarships at major universities.
20         20.    Plaintiff SECOND AMENDMENT FOUNDATION (“SAF”) is a
21   501(c)(3) non-profit membership organization incorporated under the laws of the
22   state of Washington. Plaintiff SAF has over 650,000 members and supporters
23   nationwide, include thousands of members in California. Founded in 1974, Plaintiff
24   SAF is dedicated to promoting a better understanding of the country’s
25   constitutional heritage to privately own and possess firearms. To that end, Plaintiff
26   SAF carries on many educational and legal action programs designed to better
27   inform the public about the gun control debate. It has been a pioneer in innovative
28   defense of the right to keep and bear arms through its publications, public education

                                 7
         COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 8 of 38 Page ID #:8



1    programs, legal action, and events like the annual Gun Rights Policy Conference. It
2    is critical to the success of SAF that its promotional material, publications, and
3    messages about the “right to keep and bear arms” be permitted to reach a broad
4    public audience, including minors and young adults. Restrictions on speech
5    “concerning firearm-related products” interfere with that effort. Through this
6    lawsuit, Plaintiff SAF represents not only its own interests as a “firearm industry
7    member” to disseminate information to like-minded individuals, but also the
8    interests of its members, including youth under the age of 18 and their parents and
9    firearms trainers, who support and promote the right to keep and bear arms for
10   lawful purposes.
11                                         [Defendants]
12         21.    Defendant ROB BONTA is the Attorney General of the State of
13   California. He is the “chief law officer” of the state, and it his duty to “see that the
14   laws of the State are uniformly and adequately enforced.” Cal. Const. art. 5, § 1.
15   Defendant Bonta has “direct supervision over every district attorney” within the
16   State. Id. If, at any point a district attorney of the State fails to enforce adequately
17   “any law of the State,” he must “prosecute any violations of the law.” Id. Defendant
18   Bonta is also expressly responsible for enforcing section 22949. Cal. Bus. & Prof.
19   Code § 22949.80(e)(1) (any person who violates this section “is liable for a civil
20   penalty … which shall be assessed and recovered in a civil action brought in the
21   name of the people of the State of California by the Attorney General or by any
22   district attorney, county counsel, or city attorney in any court of competent
23   jurisdiction.”) Defendant Bonta maintains an office for service in Los Angeles,
24   California, and is sued in his official capacity.
25          22. The true names and capacities of Defendants named as DOEs 1
26   through 10, inclusive, are individual, corporate, associate or otherwise, and are
27   unknown to Plaintiffs. They are, however, believed to be responsible in some way
28   for Plaintiffs’ injuries as alleged herein. Each Doe Defendant is, and at all times

                                 8
         COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 9 of 38 Page ID #:9



1    mentioned here was, a partner, agent, principal, co-conspirator, or are otherwise
2    vicariously or directly responsible for the acts or omissions of the other defendants
3    or themselves. They are each sued individually and/or in their official capacity and
4    are joined as party defendants. Plaintiffs thus sue each Doe Defendant under rules
5    15 and 21 of the Federal Rules of Civil Procedure. Plaintiffs are informed and
6    believed that the Doe Defendants are all California residents. Plaintiffs will amend
7    this complaint to show such true names and capacities of Doe Defendants when
8    they have been ascertained.1
9                                FACTUAL ALLEGATIONS
10      [The First Amendment Rights to Free Speech, Association, & Assembly]
11         23.    The First Amendment provides, in part, that “Congress shall make no
12   law . . . abridging the freedom of speech,” U.S. Const. amend. I. It is incorporated
13   and made applicable to the states by the Fourteenth Amendment to the United
14   States Constitution and by 42 U.S.C. § 1983.
15         24.    Political and ideological speech—including speech concerning
16   “politics, nationalism, religion, or other matters of opinion”—has long been
17   considered the core of the First Amendment. W. Va. State Bd. of Educ. v. Barnette,
18   319 U.S. 624, 642 (1943).
19         25.    The First Amendment does not tolerate the suppression of speech
20   based on what some may label an unpopular viewpoint of the speaker. John J.
21   Hurley and S. Boston Allied War Vets. Council v. Irish-Am. Gay, Lesbian &
22   Bisexual Group of Boston, 515 U.S. 557 (1995). Indeed, “above all else, the First
23   Amendment means that the government has no power to restrict expression because
24   of its message, its ideas, its subject matter, or its content.” Mosley, 408 U.S. at 95
25
           1
26            Section 22949.80(e)(1) authorizes, not only the Attorney General, but also
     all District Attorneys, County Counsel, and City Attorneys to initiate a civil action
27   alleging a violation of the challenged law. To Plaintiffs’ knowledge no such actor
     has yet filed such an action, but Plaintiffs will immediately amend or move to
28   amend this complaint to show the true names and capacities of such actors should
     they do so.
                                 9
         COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 10 of 38 Page ID #:10



 1    (emphasis added); see also Ashcroft, 535 U.S. at 573.
 2          26.    A content-based restriction that implicates political or ideological
 3    speech must generally survive “strict scrutiny,” where the government must show
 4    that the law is narrowly tailored to achieve a compelling government interest. See
 5    Reed v. Town of Gilbert, 576 U.S. 155 (2015); see also Lorillard Tobacco Co. v.
 6    Reilly, 533 U.S. 525 (2001) (holding that tobacco marketing restrictions – even
 7    those purposed to protecting minors -- must be the narrowest means of achieving an
 8    asserted state interest); Brown v. Entm’t Merchs. Ass’n, 564 U.S. 786 (2011)
 9    (overturing California law banning sale or rental of “violent video games” to
10    minors); see also Tracy Rifle & Pistol LLC v. Harris, 339 F. Supp. 3d 1007, 1018
11    (E.D. Cal. 2018) (holding that a California law prohibiting the display of a
12    handgun, an imitation handgun, or a placard advertising the sale of a handgun in a
13    manner that is visible from the outside of a gun dealer’s premises is
14    unconstitutional).
15          27.    Even purely commercial speech—speech that “does no more than
16    propose a commercial transaction” or relates solely to the economic interests of the
17    speaker and audience—receives First Amendment protection if it is not misleading
18    and concerns a lawful activity. Cent. Hudson Gas & Elec. Corp. v. Public Serv.
19    Comm’n, 447 U.S. 557 (1980).
20          28.    “An offer to sell firearms or ammunition” is constitutionally protected
21    commercial speech. Nordyke v. Santa Clara, 110 F.3d 707, 710 (9th Cir. 2009).
22          29.    Government restrictions on protected commercial speech are
23    constitutional only if they directly advance a substantial government interest and are
24    not broader than necessary to serve that interest. Cent. Hudson, 447 U.S. 557.2
25          2
               Though this is currently the controlling test for so-called “commercial
26    speech,” modern case law is trending toward extending full First Amendment
      protection to all speech, including “commercial speech.” See Sorrell v. IMS Health,
27    Inc., 564 U.S. 552 (moving toward providing commercial speech the same level of
      heightened protection long accorded to political speech); see also 44 Liquormart,
28    Inc. v. Rhode Island, 517 U.S. 484, 523 (1996) (Thomas, J., concurring in part and
      concurring in judgment) (“I do not see a philosophical or historical basis for
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          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 11 of 38 Page ID #:11



 1          30.    The First Amendment protects not only the right of free speech, but
 2    also “the right of the people peaceably to assemble.” U.S. Const., amend. I. The
 3    right to assemble often merges with the right to free expression. For “[e]ffective
 4    advocacy of both public and private points of view, particularly controversial ones,
 5    is undeniably enhanced by group association.” NAACP v. Patterson, 357 U.S. 449,
 6    462 (1958). “Governmental action which may have the effect of curtailing the
 7    freedom to associate is subject to the closest scrutiny.” Id. at 461-62.
 8       [The Fourteenth Amendment Right to Equal Protection Under the Law]
 9          31.    The Fourteenth Amendment to the United States Constitution,
10    enforceable under 42 U.S.C. § 1983, provides that no state shall deny to any person
11    within its jurisdiction the equal protection of the laws.
12          32.    Singling out speakers because of the content of their speech also
13    violates their fundamental rights under the Equal Protection Clause. U.S. Const.
14    amend. XIV.
15          33.    If unequal treatment occurs in the context of exercising a fundamental
16    right, or the government is motivated by animus toward a disfavored group, courts
17    apply heighted scrutiny. See Loving v. Virginia, 388 U.S. 1, 11 (1967); see also
18    Cleburne v. Cleburne Living Center, Inc., 473 U.S. 432 (1985); Romer v. Evans,
19    517 U.S. 620 (1996). Indeed, “[b]ecause the right to engage in political expression
20    is fundamental to our constitutional system, statutory classifications impinging
21    upon that right must be narrowly tailored to serve a compelling governmental
22    interest.” Austin v. Mich. Chamber of Commerce, 494 U.S. 652, 666 (1990), rev’d
23    on other grounds, Citzs. United v. Fed. Elec. Comm’n, 558 U.S. 310, 130 S. Ct. 876
24    (2010).
25
26
27
28    asserting that ‘commercial’ speech is of ‘lower value’ than ‘noncommercial’
      speech. Indeed, some historical materials suggest to the contrary.”).
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          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 12 of 38 Page ID #:12



 1                    [California Laws Regarding Minors and Firearms]
 2          34.    California law restricts the possession, use, and acquisition of firearms
 3    by minors. See Cal. Penal Code §§ 29610-29750.
 4          35.    While California’s restrictions on firearm possession by minors may
 5    appear broad, they are greatly tempered by a non-exhaustive list of statutory
 6    exceptions authorizing a variety of lawful uses, as well as the constitutional right to
 7    keep and bear arms for lawful purposes, including the core lawful purpose of self-
 8    defense.
 9          36.    Indeed, California Penal Code section 29750 makes clear that it was
10    not the Legislature’s intent “to expand or narrow the application of the then-
11    existing statutory and judicial authority as to the rights of minors to be loaned or to
12    possess live ammunition or a firearm for the purpose of self-defense or the defense
13    of others.” The law is quite clear that minors do indeed possess a right to possess
14    and use firearms for self-defense and defense of others and that the laws are not
15    meant to restrict or prohibit that right.
16          37.    That said, current California law purports to otherwise prohibit minors
17    from possessing handguns and semiautomatic centerfire rifles (and beginning July
18    1, 2023, any type of firearm). Cal. Penal Code § 29610. Minors also cannot possess
19    live ammunition. Id. § 29650.
20          38.    But the exceptions to these restrictions are numerous and non-
21    exhaustive. Common to all of the exceptions is that the minor be engaged in, or be
22    in direct transit to or from, “a lawful, recreational sport” which includes, “but is not
23    limited to, competitive shooting, or agricultural, ranching, or hunting activity or
24    hunting education, or a motion picture, television, or video production, or
25    entertainment or theatrical event, the nature of which involves the use of a firearm.”
26    Cal. Penal Code § 29615 (exceptions for possession of firearms); id. § 29655
27    (exceptions for possession of live ammo).
28

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          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 13 of 38 Page ID #:13



 1          39.    Some of the exceptions to California’s restrictions on firearm
 2    possession by minors do not even require the presence of a parent or legal guardian.
 3    This can include situations where the minor only has the express written permission
 4    of their parent or legal guardian to possess a firearm. See, e.g., Cal. Penal Code §
 5    29615(c)-(e).
 6          40.    California also prohibits any “person, corporation, or firm” from
 7    selling, loaning, or transferring a firearm to a minor, or selling a handgun to an
 8    individual under 21 years of age, except in certain circumstances. Cal. Penal Code
 9    § 27505.
10          41.    As applied to laws restricting the “loan” of a firearm to a minor, the
11    applicable exceptions first look to the relationship of the person to the minor (i.e.,
12    whether they are the parent/legal guardian or someone else) and the type of firearm
13    being loaned (e.g., whether it is a semiautomatic centerfire rifle, handgun, some
14    other type of firearm). See Cal. Penal Code § 27505(b)(2)-(5). Notably, here again,
15    the law makes clear the minor need not always be accompanied by a parent, legal
16    guardian, or responsible adult. And all of the exceptions use the same “lawful,
17    recreational sport” language as above.
18                    [California’s Assembly Bill 2571 (Bauer-Kahan)]
19          42.    Assembly member Rebecca Bauer-Kahan introduced AB 2571 on or
20    about February 18, 2022. Assem. Bill 2571, 2021-2022 Reg. Sess. (Cal. 2022)
21    (attached hereto as Exhibit A). The source of the bill was Governor Gavin
22    Newsom. Sen. Rules Comm., Bill Analysis Re: AB 2571 (Bauer-Kahan), 2021-
23    2022 Reg. Sess., at 1 (Cal. 2022).
24          43.    AB 2571 passed both houses of the California Legislature and was
25    presented to Governor Gavin Newsom at or around 2:30 p.m. on June 30, 2022.
26          44.    Governor Newsom approved AB 2571 the very same day.
27          45.    Because AB 2571 was passed as an “urgency statute necessary for the
28    immediate preservation of the public peace, health, or safety,” AB 2571 took effect

                                 13
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 14 of 38 Page ID #:14



 1    immediately upon Governor Newsom’s approval on June 30, 2022. Ex. A.
 2          46.      AB 2571, which added section 22949.80 to the California Business &
 3    Professions Code,3 makes it unlawful for any “firearm industry member” to
 4    “advertise, market, or arrange for placement of an advertising or marketing
 5    communication concerning any firearm-related product in a manner that is
 6    designed, intended, or reasonably appears to be attractive to minors.” Cal. Bus. &
 7    Prof. Code § 22949.80(a)(1).
 8          47.      AB 2571 defines “minor” as a “natural person under 18 years of age
 9    who resides in” California. Id. § 22949.80(c)(7).
10          48.      Though the phrase “reasonably appears to be attractive to minors” is
11    extraordinarily vague and open to broad interpretation based on one’s subjective
12    opinion, AB 2571 provides some guidance for the courts “[i]n determining whether
13    marketing or advertising concerning a “firearm-related product” is attractive to
14    minors. Id. § 22949.80(a)(2).
15          49.      Specifically, under AB 2571, “a court shall consider the totality of the
16    circumstances.” This includes, but is not limited to, considering whether the
17    marketing or advertising:
18              (A) Uses caricatures that reasonably appear to be minors or
19                  cartoon characters to promote firearm-related products.
                (B) Offers brand name merchandise for minors, including, but
20                  not limited to, hats, t-shirts, or other clothing, or toys,
                    games, or stuffed animals, that promotes a firearm
21                  industry member or firearm-related product.
22              (C) Offers firearm-related products in sizes, colors, or designs
                    that are specifically designed to be used by, or appeal to,
23                  minors.
24              (D) Is part of a marketing or advertising campaign designed
                    with the intent to appeal to minors.
25
                (E) Uses images or depictions of minors in advertising and
26                  marketing materials to depict the use of firearm-related
                    products.
27
            3
28           Throughout this complaint, Plaintiffs refer to the challenged law, California
      Business & Professions Code section 22949.80, as “AB 2571.”
                                 14
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 15 of 38 Page ID #:15


             (F) Is placed in a publication created for the purpose of
 1               reaching an audience that is predominately composed of
                 minors and not intended for a more general audience
 2               composed of adults.
 3    Id. § 22949.80(a)(2).
 4          50.    AB 2571 defines “firearm industry members” in two ways:
 5           (A) A person, firm, corporation, company, partnership,
                 society, joint stock company, or any other entity or
 6               association engaged in the manufacture, distribution,
                 importation, marketing, wholesale, or retail sale of
 7               firearm-related products.
 8           (B) A person, firm, corporation, company, partnership,
                 society, joint stock company, or any other entity or
 9               association formed for the express purpose of promoting,
                 encouraging, or advocating for the purchase, use, or
10               ownership of firearm-related products that does one of the
                 following:
11
                   (i) Advertises firearm-related products.
12
                   (ii) Advertises events where firearm-related products are
13                       sold or used.
                   (iii) Endorses specific firearm-related products.
14
                   (iv) Sponsors or otherwise promotes events at which
15                      firearm-related products are sold or used.
16    Id. § 22949.80(c)(4).
17          51.    AB 2571 thus does not bar members of the (politically popular) book,
18    movie, television, and video game industries from “advertising, marketing, or
19    arranging for the placement of an advertising or marketing communication
20    concerning any firearm-related product” even though the author of AB 2571
21    expressly identifies the “slick advertising” of such products in children’s books,
22    cartoons, and video games as sources of “shameless” advertising of “weapons” to
23    children. Sen. Judiciary Comm., Bill Analysis Re: AB 2571 (Bauer-Kahan), 2021-
24    2022 Reg. Sess., at 9 (Cal. 2022) (attached hereto as Exhibit B).
25          52.    AB 2571 does, however, apply to (politically unpopular) organizations
26    formed to promote and preserve the Second Amendment rights to keep and bear
27    arms, organizations that offer competitive and recreational shooting programs,
28    businesses that offer shooting skills courses and/or firearm-safety training, and gun

                                 15
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 16 of 38 Page ID #:16



 1    show promoters, as well as firearms manufacturers and retailers. Cal. Bus. & Prof.
 2    Code § 22949.80(c)(4).
 3          53.   AB 2571 defines “firearm-related product” as any “firearm,
 4    ammunition, reloaded ammunition, a firearm precursor part, a firearm component,
 5    or a firearm accessory that meets any of the following conditions”:
 6                (A) The item is sold, made, or distributed in California.
 7                (B) The item is intended to be sold or distributed in
                      California.
 8
                  (C) It is reasonably foreseeable that the item would be
 9                    sold or possessed in California.
10                 (D) Marketing or advertising for the item is directed to
                       residents of California.
11    Id. § 22949.80(c)(5).
12          54.   Under AB 2571, “marketing or advertising” means “in exchange for
13    monetary compensation, to make a communication to one or more individuals, or to
14    arrange for the dissemination to the public of a communication, about a product or
15    service the primary purpose of which is to encourage recipients of the
16    communication to purchase or use the product or service.” Id. § 22949.80(c)(6)
17    (emphasis added).
18          55.   AB 2571 is thus not limited to advertising or marketing
19    communications that propose an economic transaction like the purchase or sale of
20    “firearm-related products,” including firearms, ammunition, reloaded ammunition,
21    firearm precursor parts, firearm components, or firearm accessories.
22          56.   Rather, it applies to any communication, made in exchange for
23    monetary compensation, “concerning a firearm-related product” that is “designed,
24    intended or reasonably [appears] to be attractive to youth” if the communication is
25    made by a “firearm industry member” for the purpose of encouraging “recipients of
26    the communication to purchase or use the product or service.” Id. § 22949.80(a)(1),
27    (c)(6) (emphases added).
28          57.   AB 2571 thus restricts honest and lawful commercial speech

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          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 17 of 38 Page ID #:17



 1    promoting lawful activities and services, including, but not limited to, traditional
 2    advertisements for youth shooting competitions, youth recreational shooting and
 3    outdoors events, firearm- and hunter-safety courses, shooting skills courses, and
 4    youth organization shooting programs.
 5          58.     AB 2571 also bans a broad category of pure speech, including, but not
 6    limited to:
 7                  a.   All (or nearly all) aspects of youth hunting and
                         shooting magazines and the websites, social media,
 8                       and other communications promoting those
                         magazines;
 9
                    b.   Articles, cartoons (including political cartoons), and
10                       photographs promoting or depicting the use of
                         “firearm-related products” by minors in magazines
11                       intended for a broader audience including adults;
12                  c.   Videos, cartoons, coloring books, posters, social
                         media posts, and youth education campaigns by gun
13                       rights organizations and/or firearms trainers
                         encouraging youth to take up lawful recreational or
14                       competitive shooting activities or teaching about
                         firearm safety;
15
                    d.   Branded merchandise, giveaways, or “swag”—
16                       including, but not limited to, t-shirts, hats, other
                         clothing, stickers, pins, buttons, toys, games, and
17                       stuffed animals—by a “firearm industry member”
                         that promotes a “firearm industry member,”
18                       including nonprofit Second Amendment
                         organizations, or contains pro-gun slogans and
19                       political messages;

20                  e.   Any communication made by a “firearm industry
                         member” “in exchange for monetary compensation”
21                       that encourages the recipient of the communication
                         to exercise their Second Amendment rights to
22                       purchase or use firearms or other firearms-related
                         products generally, like coaching or speaking with
23                       youth about taking firearms training or getting
                         involved with a youth shooting team;
24                  f.   Youth firearm- and hunter-safety courses and youth
                         shooting skills courses, as well as recommendations
25                       or endorsements by firearms trainers concerning the
                         most appropriate firearms, ammunition, and
26                       accessories for young and beginner shooters; and
27                  g.   Signage, flyers, posters, discussions, branded
                         merchandise and giveaways, and/or other
28                       communications generally depicting minors enjoying

                                 17
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 18 of 38 Page ID #:18


                        or otherwise encouraging minors to enjoy their
 1                      Second Amendment right to possess and use lawful
                        firearms for lawful purposes at youth recreational
 2                      and competitive shooting events, as well as
                        communications promoting such events;
 3
                   h.   Use of Daisy® BB guns, like the famous Daisy®
 4                      Red Ryder, and the Daisy® inflatable BB Gun Range
                        and similar products by gun-rights organizations at
 5                      events to introduce youth to firearms—usually for
                        the very first time—in a safe and controlled
 6                      environment in order to encourage youth to take up
                        the shooting sports and/or become youth members of
 7                      the sponsoring organization; and
 8                 i.   Communications soliciting funds for scholarships
                        and grants for youth shooters and youth shooting
 9                      teams.
10          59.    Any person who violates AB 2571 “shall be liable for a civil penalty
11    not to exceed twenty-five thousand dollars ($25,000) for each violation, which shall
12    be assessed and recovered in a civil action brought in the name of the people of the
13    State of California by the Attorney General or by any district attorney, county
14    counsel, or city attorney in any court of competent jurisdiction.” Id. §
15    22949.80(e)(1).
16          60.    AB 2571 mandates that courts “shall impose a civil penalty … for each
17    violation” of the law, instructing courts to consider any number of relevant
18    circumstances when assessing the appropriate fine, including, but not limited to:
19                 the nature and seriousness of the misconduct, the number
                   of violations, the persistence of the misconduct, the length
20                 of time over which the misconduct occurred, the
                   willfulness of the defendant’s misconduct, and the
21                 defendant’s assets, liabilities, and net worth.
22    Id. § 22949.80(e)(2).
23          61.    AB 2571 also mandates that courts “shall also order injunctive relief,
24    including a permanent or temporary injunction, restraining order, or other order
25    against the person or persons responsible for the conduct, as the court deems
26    necessary to prevent the harm described in this section. Id. § 22949.80(e)(4).
27          62.    AB 2571 also authorizes any “person harmed by a violation of this
28    section” to “commence a civil action to recover their actual damages.” Id. §

                                 18
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 19 of 38 Page ID #:19



 1    22949.80(e)(3).
 2          63.    AB 2571 also includes a fee-shifting provision, mandating that, upon a
 3    motion, courts “shall award reasonable attorney’s fees and costs, including expert
 4    witness fees and other litigation expenses, to a plaintiff who is a prevailing party in
 5    an action brought pursuant to” AB 2571. Id. § 22949.80(e)(5).
 6          64.    AB 2571 does not, however, authorize an award of attorney’s fees and
 7    costs, including expert witness fees and other litigation expenses, to a defendant
 8    who is a prevailing party in an action brought pursuant to AB 2571—even if such
 9    an action is frivolous or without merit. Id.
10                [The Impact of AB 2571 on Plaintiffs’ Protected Conduct]
11          65.    Plaintiffs regularly “advertise, market, or arrange for placement of an
12    advertising or marketing communication concerning … firearm-related product[s]
13    in a manner that is designed, intended, or [might] reasonably appear[] to be
14    attractive to minors.”
15          66.    Specifically, all Plaintiffs engage in the planning, advertising,
16    marketing, promoting, sponsoring, hosting, and/or facilitating of lawful events,
17    competitions, trainings, educational programs, safety courses, and/or gun shows,
18    specifically for youth or where youth are extremely likely to be in attendance and
19    where youth lawfully use, handle, observe, and/or otherwise possess firearms,
20    ammunition, and/or firearm parts.
21          67.    These programs regularly involve signage, flyers, discussions, branded
22    merchandise and giveaways, and/or other communications depicting minors
23    enjoying or otherwise encouraging minors to enjoy their Second Amendment right
24    to possess and use lawful firearms for lawful purposes, including hunting,
25    recreational and competitive shooting, and firearm safety programs.
26          68.    Plaintiffs also widely distribute printed and electronic communications
27    promoting these events and programs. These communications regularly include
28    images and/or depictions of minors handling or “using firearm-related products.”

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          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 20 of 38 Page ID #:20



 1          69.    These programs also sometimes include vendors or exhibitors, like
 2    Plaintiffs CRPA and SAF, who set up a booth or table to, among other things,
 3    promote membership or financial support of their organization; sell or distribute
 4    branded merchandise or merchandise with pro-gun slogans and other political
 5    messages; disseminate books, pamphlets, coloring books, flyers, and other
 6    communications promoting the use of firearms and related products generally, the
 7    Second Amendment, firearm safety, and participating in recreational or competitive
 8    shooting programs; or sell or advertise for sale firearms and related products and
 9    services.
10          70.    Plaintiff Junior Sports Magazines, the publisher of the online and print
11    magazine Junior Shooters, publishes and distributes “a publication created for the
12    purpose of reaching an audience that is predominately composed of minors and not
13    intended for a more general audience composed of adults.” Junior Shooters
14    regularly includes and, but for the enforcement of AB 2571, would continue to
15    include articles and images or depictions of the use of “firearm-related products” by
16    minors, as well as recommendations and endorsements of specific “firearm-related
17    products” appropriate for young and beginner recreational and competitive
18    shooters. AB 2571 prohibits this otherwise protected speech.
19          71.    Plaintiff Junior Sports Magazine’s publications also include
20    communications and articles promoting its partners’ and advertisers’ youth
21    shooting competitions, youth recreational shooting and outdoors events, youth
22    shooting organizations and clubs, firearm-safety courses, and shooting skills
23    courses. AB 2571 prohibits this otherwise protected speech.
24          72.    Plaintiff Junior Sports Magazine’s publications also include traditional
25    advertisements for “firearm-related products.” AB 2571 prohibits this otherwise
26    protected commercial speech.
27          73.    To be clear, Plaintiff Junior Sports Magazine’s traditional advertising
28    of “firearm-related products” is not designed or intended to encourage minors to

                                 20
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 21 of 38 Page ID #:21



 1    unlawfully buy firearms themselves. Rather, Plaintiffs’ communications might
 2    “reasonably appear[] to be attractive to minors” because they are attractive to
 3    everyone—including adults—and/or they are intended for an audience of minors
 4    who may want to ask their parents to lawfully purchase “firearm-related products”
 5    for the minor’s lawful use.
 6          74.    Plaintiff Brown, as a firearms trainer, regularly engage in the planning,
 7    advertising, marketing, and facilitation of shooting-skills courses and firearm-safety
 8    courses specifically for youth or where youth are extremely likely to be in
 9    attendance and where youth lawfully use, handle, observe, and/or otherwise possess
10    firearms, ammunition, and/or firearm parts.
11          75.    Plaintiff Brown’s training programs regularly involve communications
12    depicting minors enjoying or otherwise encouraging minors to enjoy their Second
13    Amendment right to possess and use lawful firearms for lawful purposes, including
14    hunting, recreational and competitive shooting, and firearm safety programs. AB
15    2571 prohibits this otherwise protected speech.
16          76.    Plaintiff Brown’s firearm training programs might also include
17    recommendations on which “firearm-related products” are most suitable for young
18    and/or beginner shooters in terms of ease of use, safety features, size, and/or type of
19    use. AB 2571 prohibits this otherwise protected speech.
20          77.    Plaintiffs CYSSA, RCYCCS, CRPA, and CRPA Foundation regularly
21    engage in the planning, advertising, marketing, promoting, sponsoring, hosting,
22    and/or facilitating of youth recreational events and shooting competitions
23    specifically for youth or where youth are extremely likely to be in attendance and
24    where youth lawfully use, handle, observe, and/or otherwise possess firearms,
25    ammunition, and/or firearm parts.
26          78.    Plaintiffs CYSSA, RCYCCS, CRPA, and CRPAF’s youth programs
27    regularly involve signage, flyers, discussions, branded merchandise and giveaways,
28    and/or other communications depicting minors enjoying or otherwise encouraging

                                 21
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 22 of 38 Page ID #:22



 1    minors to enjoy their Second Amendment right to possess and use lawful firearms
 2    for lawful purposes, including hunting, recreational and competitive shooting, and
 3    firearm safety programs. AB 2571 prohibits this otherwise protected speech.
 4          79.    These Plaintiffs also widely distribute printed and electronic
 5    communications promoting these events and programs. These communications
 6    regularly include images and/or depictions of minors handling or “using firearm-
 7    related products.” AB 2571 prohibits this otherwise protected speech.
 8          80.    These programs also sometimes include vendors or exhibitors, like
 9    Plaintiffs CRPA, who set up a booth or table to, among other things, promote
10    membership or financial support of their organization; sell or distribute branded
11    merchandise or merchandise with pro-gun slogans and other political messages;
12    disseminate books, pamphlets, coloring and activity books, flyers, and other
13    communications promoting the use of firearms and related products generally, the
14    Second Amendment, firearm safety, and participating in recreational or competitive
15    shooting programs; sell or advertise for sale firearms and related products and
16    services. AB 2571 prohibits this otherwise protected speech.
17          81.    Plaintiff CYSSA, a non-profit organization “formed for the express
18    purpose of promoting, encouraging, or advocating for the purchase, use, or
19    ownership of firearm-related products,” offers participation in its youth clay
20    shooting program, the CYSSA Clay Target Program, a team-based youth
21    development program for boys and girls, grades 12 and under.
22          82.    Through this program, Plaintiff CYSSA regularly engages with minors
23    through advertising, marketing, and other communications promoting youth
24    competitive shooting events and practices where “firearm-related products” are
25    used and providing recommendations on which “firearm-related products” are most
26    suitable its young shooters’ competitive and recreational shooting needs. AB 2571
27    prohibits this otherwise protected speech.
28          83.    Plaintiff CYSSA also widely distributes printed and electronic

                                 22
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 23 of 38 Page ID #:23



 1    communications promoting its youth competitive events and practices. These
 2    communications regularly include images and/or depictions of minors handling or
 3    “using firearm-related products.” AB 2571 prohibits this otherwise protected
 4    speech.
 5          84.    Plaintiff RCYCSS, a non-profit organization “formed for the express
 6    purpose of promoting, encouraging, or advocating for the purchase, use, or
 7    ownership of firearm-related products,” fields its own youth shooting team, the
 8    Redlands Clay Crushers Junior Trap Team, which consists of youth shooters
 9    ranging from age 10-18.
10          85.    Through this program, Plaintiff RCYCSS regularly engages with
11    minors through advertising, marketing, and other communications promoting youth
12    competitive shooting events and practices events where “firearm-related products”
13    are used and providing recommendations on which “firearm-related products” are
14    most suitable its young shooters’ competitive and recreational shooting needs. AB
15    2571 prohibits this otherwise protected speech.
16          86.    Plaintiff RCYCSS also widely distributes printed and electronic
17    communications promoting its youth competitive events and practices. These
18    communications regularly include images and/or depictions of minors handling or
19    “using firearm-related products.” AB 2571 prohibits this otherwise protected
20    speech.
21          87.    Plaintiff CRPA, a non-profit member organization “formed for the
22    express purpose of promoting, encouraging, or advocating for the purchase, use, or
23    ownership of firearm-related products,” not only promotes, sponsors, and hosts
24    firearms programs for youth like those described above, it is also rolling out paid
25    memberships for youth and uses CRPA-branded merchandise and giveaways (or
26    “swag”), including but not limited to hats, t-shirts, stuffed animals, coloring and
27    activity books, stickers, pins, and buttons, to promote the organization and solicit
28    memberships and/or financial support, as well as to spread pro-gun messages and

                                 23
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 24 of 38 Page ID #:24



 1    slogans. AB 2571 prohibits this otherwise protected speech.
 2          88.    AB 2571 does not, however, prohibit anti-gun organizations not
 3    “formed for the express purpose of promoting, encouraging, or advocating for the
 4    purchase, use, or ownership of firearm-related products,” like Moms Demand
 5    Action for Gun Sense in America, Gun Free Kids, and Everytown for Gun Safety,
 6    from offering and soliciting youth memberships or using branded merchandise, like
 7    hats, t-shirts, stuffed animals, coloring and activity books, stickers, pins, and
 8    buttons, bearing anti-gun messages and slogans—or even images of unlawful
 9    firearms—to spread their political messages, promote their organizations, or solicit
10    memberships and/or financial support.
11          89.    Plaintiff CRPA also publishes and distributes various publications,
12    including magazines, that have included and, but for the enforcement of AB 2571,
13    would continue to include cartoons (including political cartoons), as well as articles
14    and images or depictions of the use of “firearm-related products” by minors. AB
15    2571 prohibits this otherwise protected speech.
16          90.    Plaintiff CRPA’s publications also include advertisements promoting
17    CRPA’s and CRPA partners’ youth shooting competitions, youth recreational
18    shooting and outdoors events, firearm- and hunter-safety courses, and shooting
19    skills courses. AB 2571 prohibits this otherwise protected speech.
20          91.    Plaintiff CRPA’s publications also include traditional advertisements
21    for “firearm-related products.” AB 2571 prohibits this otherwise protected
22    commercial speech.
23          92.    To be clear, Plaintiff CRPA’s traditional advertising of “firearm-
24    related products” is not designed or intended to encourage minors to unlawfully buy
25    firearms themselves. Rather, Plaintiffs’ communications might “reasonably
26    appear[] to be attractive to minors” because they are attractive to everyone—
27    including adults—and/or they are intended for an audience of minors who may
28    want to ask their parents to lawfully purchase “firearm-related products” for the

                                 24
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 25 of 38 Page ID #:25



 1    minor’s lawful use.
 2          93.    Plaintiff CRPAF, a 501(c)(3) non-profit organization “formed for the
 3    express purpose of promoting, encouraging, or advocating for the purchase, use, or
 4    ownership of firearm-related products,” not only promotes, sponsors, and hosts
 5    firearms programs for youth like those described above, it also solicits funds for
 6    and provides scholarships and grants for individual youth shooters and youth
 7    shooting teams, publishes brochures and articles about youth shooting teams, and
 8    (in response to countless requests from CRPA and CRPAF supporters for such
 9    content) is launching an activity book about the shooting sports for children. AB
10    2571 prohibits this otherwise protected speech.
11          94.    Plaintiff GOC, a non-profit member organization “formed for the
12    express purpose of promoting, encouraging, or advocating for the purchase, use, or
13    ownership of firearm-related products,” regularly supports youth shooting teams
14    and individual talented young shooters through sponsorships and other support.
15    Through this work, Plaintiff GOC regularly engages with minors through
16    advertisements, sponsorships, and other communications promoting events where
17    “firearm-related products” are used. AB 2571 prohibits this otherwise protected
18    speech.
19          95.    Plaintiff SAF, a non-profit member organization “formed for the
20    express purpose of promoting, encouraging, or advocating for the purchase, use, or
21    ownership of firearm-related products,” sponsors and supports an initiative called
22    2AGaming, an outreach program with the goal of growing the Second Amendment
23    Community. 2AGaming functions by reaching out to people who play video games,
24    especially people who play games that focus on guns. This outreach necessarily
25    includes minors and young adults who play such games. Part of the purpose of
26    2AGaming is to persuade gamers, whose experience with firearms may—at first—
27    be limited to a digital experience, to seek out friends and shooting clubs to obtain
28    the necessary training and make that first trip to a range for a live fire experience.

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          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 26 of 38 Page ID #:26



 1    Plaintiff SAF hopes to educate the younger generation on safety and where their
 2    gun rights come from; and also seek to shift the political culture in the United
 3    States from one that demonizes and fears guns, to an attitude of respect and
 4    protection for our nation’s Second Amendment heritage.4
 5          96.    Plaintiff SAF also produces SAF-branded merchandise or “swag” that
 6    it distributes to promote itself, to increase paid memberships, encourage
 7    participation in shooting sports, and spread its Second Amendment message. The
 8    ban on merchandizing codified in AB 2571 would include a ban on SAF branded t-
 9    shirts, hats, other clothing, toys, games, pins, stickers, buttons, etc. that “promote” a
10    “firearm industry member.”
11          97.    As a result of the adoption and immediate enforcement of AB 2571,
12    Plaintiffs have already begun to curtail these activities, as well as all manner of
13    speech that could arguably fall under AB 2571’s ban on speech—fearing the
14    draconian penalties that attach to each incident of marketing barred by AB 2571,
15    including fines up to $25,000 per copy or reproduction of the communication and
16    an award of actual damages and attorney’s fees and costs to any prevailing plaintiff
17    who brings an action alleging a violation of AB 2571.
18          98.    AB 2571 thus has the practical effect of wiping out a vital outlet for
19    the free exchange of ideas related to the lawful possession and use of lawful
20    “firearm-related products” and for the promotion and preservation of the “gun
21    culture” in California through the passing down of pro-gun attitudes and traditions
22    to future generations.
23          99.    Both on its face and as evidenced by the legislative history of AB
24    2571, this appears be the very purpose and intent of the law.
25          100. Indeed, the Senate Judiciary Committee’s June 10, 2022, Bill Analysis
26
            4
27             Information about 2AGaming can be found at https://www.saf.org/gaming/.
      The program has received favorable press coverage at
28    https://www.breitbart.com/politics/2020/01/30/2nd-amendment-gaming-spreading-
      gun-rights-message-via-video-games/.
                                 26
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 27 of 38 Page ID #:27



 1    of AB 2571, quotes heavily from the Violence Policy Center’s (“VPC”) 2016
 2    report, Start Them Young, which disparagingly “outlines the problem” of the “gun
 3    industry’s” attempts to “attract future legal gun owners” thusly:
 4                 The gun industry has long understood that it faces a slow-
                   motion demographic collapse. With the industry’s
 5                 customer base growing older, household gun ownership in
                   America has steadily declined. As its primary market of
 6                 white males ages and dies off, the firearms industry has
                   set its sights on America’s children. Much like the
 7                 tobacco industry’s search for replacement smokers, the
                   gun industry is seeking replacement shooters to purchase
 8                 its deadly products. Firearms companies have teamed up
                   with “corporate partners” like the National Rifle
 9                 Association of America, the gun industry’s trade
                   association the National Shooting Sports Foundation
10                 (NSSF), and online publications such as Junior Shooters
                   in an industry-wide effort to market firearms to kids. They
11                 do this by promoting websites and magazines targeted at
                   children, designing “kid-friendly” guns to appeal to the
12                 youth market, and even working to create the equivalent
                   of “‘reality’ video” games to encourage gun use from an
13                 early age.
14                 The industry’s focus on recruiting children into the
                   gun culture has been acknowledged since at least the
15                 1990s.
16    Ex. B at 7-8 (quoting Josh Sugarman, Violence Policy Center, “Start Them Young”
17    How the Firearms Industry and Gun Lobby Are Targeting Your Children (Feb.
18    2016), available at https://www.vpc.org/studies/startthemyoung.pdf (attached
19    hereto as Exhibit C)) (emphasis added).
20          101. The Senate Judiciary Committee’s analysis continues, quoting a New
21    York Times article lauding the VPC report:
22                 The gun industry markets a variety of products explicitly
                   to children, a new report shows, from armed stuffed
23                 animals to lighter versions of rifles. And some see kids as
                   a vital group of future gun buyers who need to be brought
24                 into the fold at a young age.
25                 The report, called “Start Them Young” and issued on
                   Thursday by the Violence Policy Center, lists a variety of
26                 firearms meant at least partly for children. It mentions the
                   Crickett rifle, a gun made for children by the company
27                 Keystone Sporting Arms. Keystone’s website and some of
                   its merchandise bear the image of “Davey Crickett,” a
28                 gun-wielding cartoon insect. The company sells Davey

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          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 28 of 38 Page ID #:28


                    Crickett hats, dog tags and pins, as well as a Davey
 1                  Crickett Beanie Baby, listed as “not for children under
                    three years of age.”
 2
                    Keystone’s website also sells books featuring “Little
 3                  Jake,” a boy who uses his gun to bring down a bear and
                    save an African village from a marauding elephant. The
 4                  publisher of the books says Little Jake is actually older
                    than he looks: “Little Jake is a fictional character in his
 5                  late teens. While small in stature so that young children
                    may relate to him, Little Jake is old enough to hunt and
 6                  fish safely on his own without adult supervision.”
 7    Ex. B at 8-9 (quoting Anna North, Marketing Guns to Children, N.Y. Times (Feb.
 8    19, 2022), available at https://archive.nytimes.com/takingnote.blogs.nytimes.com/
 9    2016/02/19/marketing-guns-to-children/ (attached hereto as Exhibit D)) (emphasis
10    added).
11            102. The New York Times article explains that “the [VPC] report makes the
12    case that the gun industry and some gun-rights advocates see putting guns in the
13    hands of children as a crucial recruitment move.” It goes on to quote the editor-in-
14    chief of Plaintiff Junior Sports Magazines’ Junior Shooters, who wrote in 2012,
15    that:
16                  Each person who is introduced to the shooting sports and
                    has a positive experience is another vote in favor of
17                  keeping our American heritage and freedom alive. They
                    may not be old enough to vote now, but they will be in the
18                  future. And think about how many lives they will come in
                    contact with that they can impact!
19
20    Ex. D (emphasis added). It is thus clear that the Legislature understood the
21    importance of engaging youth in the shooting sports for the preservation of the
22    “gun culture” and, in fact, intended AB 2571 to serve as a barrier to that
23    constitutionally protected conduct.
24            103. Further evidencing the intent of AB 2571 are the bill’s author’s own
25    words:
26                  This epidemic of deadly violence is fueled by an industry
                    that encourages children to hold a gun as soon as they
27                  can walk.
28

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          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 29 of 38 Page ID #:29


                   Gun manufacturers view children as their next generation
 1                 of advocates and customers, and target them with slick
                   advertising – even children’s books. The advertising for
 2                 these weapons is shameless. Children in California are not
                   allowed to buy or own a gun, yet they are advertised to
 3                 across all forms of media with cartoons, video games, and
                   social media.
 4
                   ….
 5
                   Guns are not a toy. Guns are a tool of death. Taking away
 6                 this tool of violent indoctrination from the gun industry is
                   a vital step forward to protect California’s children.
 7
 8    Ex. B at 9 (emphases added).
 9          104. Setting aside the obvious hyperbole and the animus evident from the
10    author’s words, it is clear that the intent of AB 2571 was not simply to keep
11    unlawful firearms out of the hands of minors and to prevent unlawful use of
12    firearms, but to prevent “firearm industry members,” which by the very terms of
13    AB 2571 include pro-Second Amendment organizations and youth shooting
14    programs, from “indoctrinating” youth to become “advocates” for the Second
15    Amendment and “gun culture” in America.
16          105. Then, on July 1, 2022, after signing AB 2571 into law, Governor
17    Newsom recorded and posted to his official Twitter feed a message to “the
18    members of the United States Supreme Court” and to “right-wing Republicans
19    across this country,” rhetorically asking them:
20                 Do you have no common decency, respect, or even
                   common understanding that kids should not have one of
21                 these [referring to a semi-automatic rifle in his hands]?
                   This is an AR-15. This is a weapon of war. A weapon of
22                 mass destruction. But you’re out there promoting and
                   allowing marketing of these weapons of war to our kids.
23                 Supporting and celebrating gun manufacturers who put up
                   advertisements like the ones you see behind me. These are
24                 cartoon skulls will pacifiers in them. His and her
                   pacifiers. Cartoon skulls of children with pacifiers. That is
25                 what the right wing is marketing and promoting at behest
                   of the gun industry in this country. The good news, if
26                 there’s any, is that this ends at least today in California. I
                   just signed a bill, so the gun industry and those that are
27                 backing this industry can no longer market to our
                   children. The idea that we even have to do this is
28                 ridiculous. This law, by the way, goes into effect

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          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 30 of 38 Page ID #:30


                   immediately. Because decent human beings, people with
 1                 common sense, know that we should not be allowing this
                   kind of disgusting marketing to go on another day.
 2
 3    Rosalio Ahumada, Gavin Newsom Signs New Gun Safety Laws Targeting Illegal
 4    Weapons, Marketing to Kids, Sac. Bee (July 1, 2022), available at
 5    https://www.sacbee.com/news/local/crime/article263108183.html (the entire video
 6    of Governor Newsom’s remarks is available on the Sacramento Bee website, as
 7    well as the official Twitter page of the Office of the Governor of California).
 8          106. In his recorded statement, Governor Newsom reproduced and
 9    displayed advertising from WEE1 Tactical of their JR-15, id.—the very advertising
10    that seemingly sparked California’s concern over firearm marketing that has been
11    prevalent in America for generations, see Ex. B at 8. But because Governor
12    Newsom is not a “firearm industry member” whose primary purpose is to
13    encourage his audience to “purchase or use the product,” but rather to disparage
14    those whose viewpoints do not align with his and those who would use the product,
15    Governor Newsom is free to reproduce and display the very same images WEE1
16    Tactical is now barred from distributing.
17                             FIRST CAUSE OF ACTION
               Violation of Right to Free Speech Under U.S. Const., amend. I
18                             Political & Ideological Speech
                                      42 U.S.C. § 1983
19                        (By All Plaintiffs Against All Defendants)
20          107. Plaintiffs incorporate by reference paragraphs 1 through 106 of this
21    complaint as though fully set forth herein in their entirety.
22          108. Defendants, acting under color of state law, are enforcing AB 2571,
23    which deprives Plaintiffs of free speech rights secured by the First Amendment of
24    the United States Constitution in violation of 42 U.S.C. § 1983.
25          109. On its face and as applied, AB 2571 is an unconstitutional abridgement
26    of Plaintiffs’ right to free speech under the First Amendment because it casts such a
27    wide net that it directly prohibits Plaintiffs’ pure speech related to the lawful
28    possession and use of lawful firearms without any compelling governmental

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          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 31 of 38 Page ID #:31



 1    interest.
 2           110. On its face and as evidenced by the legislative history of AB 2571, it is
 3    clear that the law’s purpose and intention is to thwart the promotion and
 4    preservation of the “gun culture” in California through the passing down of pro-gun
 5    attitudes and traditions to future generations. AB 2571 is thus a “presumptively
 6    unlawful” content-based and viewpoint-discriminatory restriction of speech.
 7           111. On its face, AB 2571 does not apply to similar or opposing speech
 8    made by businesses, organizations, or people who are not considered “firearm
 9    industry members.” AB 2571 is thus a “presumptively unlawful” content-,
10    viewpoint-, and speaker-based restriction on speech.
11           112. Defendants have no compelling (or even legitimate) governmental
12    interest in banning Plaintiffs’ pure speech concerning “firearm-related products.”
13    Indeed, the State’s purported interests in “ensuring that minors do not possess these
14    dangerous weapons” and “protecting its citizens … from gun violence” are betrayed
15    by the fact that California does not directly ban the possession of many “firearm-
16    related products” by minors for lawful purposes under a broad range of
17    circumstances.
18           113. Further, AB 2571 is neither narrowly tailored to nor the least
19    restrictive means of achieving the state’s dubious interests. Indeed, it sweeps up all
20    communications “concerning firearm-related products” made by “firearm industry
21    members” “in exchange for monetary compensation” that are “designed, intended,
22    or reasonably appear[] to be attractive minors”—even communications concerning
23    lawful (and constitutionally protected) products and services and communications
24    that are equally attractive to adults who have a right to obtain information about
25    such products and services.
26           114. AB 2571 is unconstitutionally overbroad because, in an effort to
27    restrict commercial advertising promoting the sale of “firearm-related products” to
28    minors, the law seriously and deliberately burdens a vast amount of speech that

                                 31
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 32 of 38 Page ID #:32



 1    does not constitute such a communication and is fully protected by the First
 2    Amendment.
 3          115. Even if AB 2571 was not written with the intention of barring events,
 4    competitions, firearm safety programs, or shooting skills courses for youth (and the
 5    advertising, marketing, and other communications necessarily attendant to these
 6    programs) or to prevent firearms-related organizations from soliciting members
 7    through marketing to and providing memberships for minors, that is its effect.
 8    Indeed, AB 2571 is so hopelessly vague and confusing that Plaintiffs have already
 9    begun to curtail all manner of speech that could arguably fall under AB 2571’s
10    overly broad ban. This “chilling” of speech also offends the First Amendment.
11          116. As a direct and proximate result of Defendants’ conduct, Plaintiffs
12    have suffered irreparable harm, including the violation of their constitutional right
13    to free speech, entitling them to declaratory and injunctive relief. Absent
14    intervention by this Court, through declaratory and injunctive relief, Plaintiffs will
15    continue to suffer this irreparable harm.
16
                              SECOND CAUSE OF ACTION
17         Violation of Right to Commercial Speech Under U.S. Const., amend. I
                                      42 U.S.C. § 1983
18                        (By All Plaintiffs Against All Defendants)
19          117. Plaintiffs incorporate by reference paragraphs 1 through 116 of this
20    complaint as though fully set forth herein in their entirety.
21          118. Defendants, acting under color of state law, are enforcing AB 2571,
22    which deprives Plaintiffs of commercial speech rights secured by the First
23    Amendment of the United States Constitution in violation of 42 U.S.C. § 1983.
24          119. On its face and as applied, AB 2571 is an unconstitutional abridgement
25    of Plaintiffs’ right to free speech under the First Amendment because it casts such a
26    wide net that it directly prohibits Plaintiffs’ protected commercial speech without
27    any substantial governmental interest and is far more extensive than necessary to
28    serve any purported governmental interest.

                                 32
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 33 of 38 Page ID #:33



 1          120. AB 2571 ensnares all advertising, marketing, and placement of
 2    advertising or marketing concerning “firearm-related products” by “firearm
 3    industry members” that might be deemed “attractive” to minors—even those that
 4    propose the sale of lawful firearms for lawful purposes. It does not merely target
 5    commercial speech regarding unlawful activity or products.
 6          121. Defendants have no substantial (or even legitimate) governmental
 7    interest in banning non-misleading commercial speech concerning the lawful sale,
 8    possession, and use of “firearm-related products.” Indeed, the State’s purported
 9    interests in “ensuring that minors do not possess these dangerous weapons” and
10    “protecting its citizens … from gun violence” are betrayed by the fact that
11    California does not ban the possession of many “firearm-related products” by
12    minors for lawful purposes under a broad range of circumstances.
13          122. Even if the state’s purported interests were substantial, neither interest
14    is directly served by the ban.
15          123. Even if the state’s purported interests were substantial, AB 2571 is far
16    more extensive than necessary to achieve the state’s interests. Indeed, it sweeps up
17    all communications concerning “firearm-related products” made by “firearm
18    industry members” “in exchange for monetary compensation” that are “designed,
19    intended, or reasonably appear[] to be attractive minors”—even communications
20    concerning lawful (and constitutionally protected) products and services and
21    communications that are equally attractive to adults who have a right to obtain
22    information about such products and services.
23          124. As a direct and proximate result of Defendants’ conduct, Plaintiffs
24    have suffered irreparable harm, including the violation of their constitutional right
25    to free speech, entitling them to declaratory and injunctive relief. Absent
26    intervention by this Court, through declaratory and injunctive relief, Plaintiffs will
27    continue to suffer this irreparable harm.
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          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 34 of 38 Page ID #:34


                               THIRD CAUSE OF ACTION
 1      Violation of Rights to Association & Assembly Under U.S. Const., amend. I
                                      42 U.S.C. § 1983
 2                        (By All Plaintiffs Against All Defendants)
 3            125. Plaintiffs incorporate by reference paragraphs 1 through 124 of this
 4    complaint as though fully set forth herein in their entirety.
 5            126. Defendants, acting under color of state law, are enforcing AB 2571,
 6    which deprives Plaintiffs of free association and assembly rights secured by the
 7    First Amendment of the United States Constitution in violation of 42 U.S.C. §
 8    1983.
 9            127. On its face and as applied, AB 2571 is an unconstitutional abridgement
10    of Plaintiffs’ rights to free association and assembly under the First Amendment
11    because it casts such a wide net that it directly prohibits all Plaintiffs from
12    advertising, marketing, or arranging for the placement of advertising or marketing
13    concerning their various firearm-related programs, where Plaintiffs peacefully and
14    lawfully assemble and associate with each other and members of the public,
15    including youth.
16            128. On its face and as applied, AB 2571 is an unconstitutional abridgement
17    of Plaintiff CRPA’s rights to free association and assembly under the First
18    Amendment because it casts such a wide net that it directly prohibits Plaintiff
19    CRPA from advertising, marketing, or arranging for the placement of advertising or
20    marketing concerning its youth memberships. It also bars Plaintiff CRPA from
21    distributing CRPA-branded merchandise and giveaways to promote the
22    membership in and financial support of the organization.
23            129. Defendants have no compelling (or even legitimate) interest in
24    prohibiting “firearm industry members,” like the Plaintiffs, from advertising,
25    marketing, or arranging for the placement of any advertising or marketing
26    communication concerning their firearm-related youth programming and services
27    and the “firearm-related products” used, sold, endorsed, recommended, or
28    advertised at such events—effectively putting an end to such events and, by

                                 34
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 35 of 38 Page ID #:35



 1    extension, the rights of Plaintiffs to associate and assemble at them.
 2          130. Defendants have no compelling (or even legitimate) governmental
 3    interest in prohibiting Plaintiff CRPA, a “firearm industry member,” from
 4    advertising, marketing, or arranging for the placement of any advertising or
 5    marketing communication concerning its youth memberships and from distributing
 6    CRPA-branded merchandise to promote the membership in and financial support of
 7    the organization.
 8          131. Even if AB 2571 served some sufficient government purpose, it is
 9    neither narrowly tailored nor the least restrictive means to serve that end.
10          132. As a direct and proximate result of Defendants’ conduct, all Plaintiffs
11    have suffered irreparable harm, including the violation of their constitutional right
12    to free association and assembly, entitling them to declaratory and injunctive relief.
13    Absent intervention by this Court, through declaratory and injunctive relief,
14    Plaintiffs will continue to suffer this irreparable harm.
15                           FOURTH CAUSE OF ACTION
16      Violation of the Right to Equal Protection Under U.S. Const., amend. XIV
                                     42 U.S.C. § 1983
17                          (By All Plaintiffs Against All Defendants)
18          133. Plaintiffs incorporate by reference paragraphs 1 through 132 of this
19    complaint as if fully set forth herein in their entirety.
20          134. Defendants, acting under color of state law, are enforcing AB 2571,
21    which deprives Plaintiffs of right to equal protection under the law secured by the
22    Fourteenth Amendment of the United States Constitution in violation of 42 U.S.C.
23    § 1983.
24          135. On its face and as applied, AB 2571 is an unconstitutional abridgement
25    of Plaintiffs’ right to equal protection under the law guaranteed by the Fourteenth
26    Amendment because it is a viewpoint-discriminatory and/or animus-based
27    restriction on Plaintiffs’ protected political and ideological speech that serves no
28    compelling governmental interest.

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          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 36 of 38 Page ID #:36



 1          136. On its face and as evidenced by the legislative history of AB 2571, it is
 2    clear that the law’s purpose and intention is to thwart the promotion and
 3    preservation of the “gun culture” in California through the passing down of pro-gun
 4    attitudes and traditions to future generations.
 5          137. On its face, AB 2571 does not apply to similar or opposing speech
 6    made by businesses, organizations, or people who are not considered “firearm
 7    industry members.”
 8          138. Defendants have no compelling (or even legitimate) governmental
 9    interest in banning Plaintiffs’ pure speech concerning “firearm-related products.”
10    Indeed, the State’s purported interests in “ensuring that minors do not possess these
11    dangerous weapons” and “protecting its citizens … from gun violence” are betrayed
12    by the fact that California does not directly ban the possession of many “firearm-
13    related products” by minors for lawful purposes under a broad range of
14    circumstances.
15          139. Nor is there any legitimate interest in singling out politically
16    disfavored “firearm industry members” under AB 2571’s ban on protected
17    speech—while leaving members of other industries, like the popular entertainment
18    and video game industries, as well as anti-gun organizations free to engage in
19    similar or identical speech. Rather, AB 2571 is steeped in and motivated by animus
20    for “gun culture” and those who participate in it.
21          140. Further, AB 2571 is not narrowly tailored to achieving the state’s
22    dubious interests.
23          141. As a direct and proximate result of Defendants’ conduct, Plaintiffs
24    have suffered irreparable harm, including the violation of their constitutional right
25    to equal protection under the law, entitling them to declaratory and injunctive relief.
26    Absent intervention by this Court, through declaratory and injunctive relief,
27    Plaintiffs will continue to suffer this irreparable harm.
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                                 36
          COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 37 of 38 Page ID #:37



 1                                  PRAYER FOR RELIEF
 2    WHEREFORE, Plaintiffs pray for:
 3           1.     A declaration that AB 2571, codified at California Business &
 4    Professions Code section 22949.80, violates the Plaintiffs’ free speech rights under
 5    the First Amendment to the United States Constitution, on its face and as applied to
 6    the Plaintiffs;
 7           2.     A declaration that AB 2571, codified at California Business &
 8    Professions Code section 22949.80, violates the Plaintiffs’ commercial speech
 9    rights under the First Amendment to the United States Constitution, on its face and
10    as applied the Plaintiffs;
11           3.     A declaration that AB 2571, codified at California Business &
12    Professions Code section 22949.80, violates the rights of assembly and association
13    of the Plaintiffs under the First Amendment to the United States Constitution, on its
14    face and as applied to the Plaintiffs;
15           4.     A declaration that AB 893, codified at California Business &
16    Professions Code section 22949.80, violates the rights of the Plaintiffs to equal
17    protection under the law per the Fourteenth Amendment to the United States
18    Constitution, on its face and as applied to the Plaintiffs;
19           5.     A preliminary and permanent injunction prohibiting all Defendants,
20    their employees, agents, successors in office, and all District Attorneys, County
21    Counsel, and City Attorneys holding office in the state of California, as well as
22    their successors in office, from enforcing AB 2571, codified at Business &
23    Professions Code section 22949.80;
24           6.     An award of costs and expenses, including attorney’s fees, pursuant to
25    42 U.S.C. § 1988 or other applicable state or federal law; and
26
27    ///
28    ///

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            COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
Case 2:22-cv-04663-CAS-JC Document 1 Filed 07/08/22 Page 38 of 38 Page ID #:38



 1          7.    Any such other relief the Court deems just and equitable.
 2
 3    Dated: July 8, 2022                MICHEL & ASSOCIATES, P.C.
 4                                       s/ Anna M. Barvir
                                         Anna M. Barvir
 5                                       Counsel for Plaintiffs Attorneys for Plaintiffs
                                         Junior Sports Magazines, Inc., Raymond
 6                                       Brown, California Youth Shooting Sports
                                         Association, Inc., Redlands California Youth
 7                                       Clay Shooting Sports, Inc., California Rifle &
                                         Pistol Association, Incorporated, The CRPA
 8                                       Foundation, and Gun Owners of California,
                                         Inc.
 9
      Dated: July 8, 2022               LAW OFFICES OF DONALD KILMER, APC
10
                                        s/ Donald Kilmer
11                                      Donald Kilmer
                                        Counsel for Plaintiff Second Amendment
12                                      Foundation
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         COMPLAINT FOR DECLARATORY RELIEF & INJUNCTIVE RELIEF
